Case 3:25-cv-00410-W-MMP        Document 1-3      Filed 02/24/25     PageID.54     Page 1 of 1
                                                                       '25CV0410 W      MMP

                        DECLARATION OF AND REA CAR RIER

       I, Andr ea Carrier, declare as follows:
                                                                      ornia. I make the
    1. I am over the age of 18 and reside in San Dieg o County, Calif
                                                                        d upon to testify
       following declaration based on my personal knowledge. If calle
       as a witness, I could and woul d competently testify thereto.
                                                                his biological mother.
   2. My ~on, Bran don Yates, was born on May 17, 1999. I am
                                                                 ary 16, 2024. He was
   3. Bran don died in the city and county of San Dieg o on Janu
      _24 years old.
                                                                    had no children. He
   4. At the time of his death, Bran don was not marr ied and he
                                                                        ary instrument or
      did nQt leave behin d any will. He did not leave any testament
                                                                         maki ng any
      other writt en documeµt designating any heir or beneficiary or
      dona tive trans fer of property. Bran don died intestate.
                                                                     of his estate. No
   5. No proc eedin g is pend ing in California for administration
                                                                          admi nistra tion of
      prob ate proc~ eding is pend ing in any other state or coun try for
       Bran don' s estat e.
                                                                         and had no children,
   6. Beca use at the time of his death, Bran don was not marr ied
                                                                            dent Bran don
      I, alon g with Bran don's biological father Dan Yates, am dece
                                                                            the Calif ornia
      Yate s' succ essor s in inter est (as defm ed in Secti on 3 77 .11 of
                                                                            est in the actio n or
      Code of Civil Proc edur e) and succ eed to the dece dent' s inter
      proc eedin g.
                                                                          n or proce eding or to
   7. No othe r perso n has a supe rior right to comm ence the actio
                                                                              eding .
      be subs titute d for the dece dent' s inter est in the actio n or proce
                                                                         of Calif ornia that the
   I decla re unde r pena lty of perju ry unde r the laws of the State
   foregoing is true and correct. Executed o n ¥ ~ /7J 202. S in
    ~ , Calif ornia .
